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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC ee ALLY FILED
MUSAIB ISMAILOVYCH ISMAILOV and DOC #: —_____
AKHMED HADZHYIOVYCH BILALOV, DATE FILED: 09/23/2024
Plaintiffs,

-against- 24 Civ. 3287 (AT)

MYKHAILO SAFARBEKOVYCH HUTSERIEV, ORDER

STANISLAV KOSTIANTYNOVYCH
KUZNETSOV, and PUBLIC JOINT STOCK
COMPANY “SBERBANK OF RUSSIA,”

Defendants.
ANALISA TORRES, District Judge:

The Court has reviewed the parties’ letters dated September 11, 13, 17, and 20, 2024. ECF
Nos. 63-65, 67, 71-72. Accordingly:

1. Defendant Mykhailo Safarbekovych Hutseriev’s request for leave to move to dismiss
Plaintiffs’ complaint is GRANTED;

2. By October 18, 2024, Hutseriev shall file his motion to dismiss;

3. By November 19, 2024, Plaintiffs’ shall file a consolidated opposition not to exceed 45 pages
to the Sberbank Defendants’ motion to dismiss, ECF No. 50, the Sberbank Defendants’
motion for sanctions, ECF No. 68, and Hutseriev’s motion to dismiss;

4. By December 10, 2024, the Sberbank Defendants shall file their reply, if any, to Plaintiffs’
opposition to the Sberbank Defendants’ motion to dismiss; the Sberbank Defendants shall file
their reply, if any, to Plaintiffs’ opposition to the Sberbank Defendants’ motion for sanctions;
and Hutseriev shall file his reply, if any, to Plaintiffs’ opposition to Hutseriev’s motion to
dismiss.

The Clerk of Court is respectfully directed to terminate the motion at ECF No. 63.
SO ORDERED.

Dated: September 23, 2024
New York, New York

On-

ANALISA TORRES
United States District Judge

